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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


Virginia L. Giuffre,
       Plaintiff,                               Case No.: 15-cv-07433-LAP
v.
Ghislaine Maxwell,
       Defendant.
                         /


          THE GOVERNMENT OF THE UNITED STATES VIRGIN ISLANDS’
           REPLY MEMORANDUM IN SUPPORT OF EX PARTE MOTION
              TO INTERVENE AND FOR CONFIDENTIAL ACCESS TO
               JUDICIAL RECORDS AND DISCOVERY DOCUMENTS
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       The Government of the United States Virgin Islands (the “USVI”) submits this reply

memorandum in support of its motion to intervene (Doc. 1110) in this action for the limited

purpose of obtaining confidential access to both: (a) all still-sealed documents related to the

parties’ motions for summary judgment [ECF No. 540 to 543, 586 to 586-3, 620 to 621, and

872]; and (b) all unfiled discovery deposition transcripts and exhibits thereto.

                                        INTRODUCTION

       The USVI seeks confidential access to these materials because they are very likely both

relevant and necessary to its pending Virgin Islands Criminally Influenced and Corrupt

Organizations Act (“CICO”) civil enforcement action against the Estate of Jeffrey E. Epstein and

several Epstein-controlled entities before the Superior Court of the U.S. Virgin Islands. See

USVI Ex. A (CICO Action First Amended Complaint) (“FAC”) (Doc. 1111-1).

       Defendant Ghislaine Maxwell (Maxwell) and non-party John Doe (Doe) oppose the

proposed intervention and access on the grounds that the USVI does not meet the applicable

standard for modifying the Protective Order. See Martindell v. IT&T Corp., 594 F.2d 291, 296

(2d Cir. 1979) (party moving to modify protective order must show an “extraordinary

circumstance or compelling need” for modifying). They are incorrect. There are at least two

circumstances connected with this litigation that give rise to the USVI’s compelling need.

       The first is Jeffrey Epstein’s passing after he was deposed as a fact witness in this action,

but before the USVI filed its action and could obtain his testimony therein. Maxwell and Doe

both argue that Epstein’s deposition is of no relevance to the USVI’s case because Epstein

invoked the Fifth Amendment in response to every question. See Maxwell Objection (Doc.

1118) at 8; Doe Objection (Doc. 1119) at 3 (citing Maxwell Objection). Even if so, and putting

aside waiver of confidentiality from this disclosure, Epstein’s invocation of his Fifth Amendment



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to refuse to testify in response to deposition questions has evidentiary value in the Virgin

Islands’ civil CICO litigation. See, e.g., Collazos v. U.S., 368 F.3d 190, 204 (2d Cir. 2004)

(“[A]n adverse interest may be drawn against a civil forfeiture claimant who invokes his Fifth

Amendment right not to testify[.]”) (citing U.S. v. U.S. Currency in the Amount of $119,984.00,

304 F.3d 165, 176-77 (2d Cir. 2002)); N.Y. Dist. Council of Carpenters Pension Fund v.

Perimeter Interiors, Inc., 657 F. Supp. 2d 410, 415 (S.D.N.Y. 2009) (“Plaintiffs are entitled to an

adverse inference regarding Reidy’s stipulated invocation of her Fifth Amendment right against

self-incrimination to 268 separate questions . . . .”). The USVI thus has a compelling need for

Epstein’s deposition testimony even in the form of refusals to answer questions because this may

be the only available testimonial evidence from him on the subject matter in question.

       The second circumstance establishing a compelling need for the USVI to gain access

through modification of the Protective Order is that even the identity of the deponent witnesses is

not known or otherwise knowable. In Martindell, the Second Circuit emphasized the federal

government’s substantial investigatory powers as weighing against a finding of compelling need

to modify a protective order. See 594 F.2d at 296. Maxwell and Doe both pick up on this theme.

See Maxwell Opp. at 4-6; Doe Opp. at 3. In Martindell itself, however, the district court gave

the Justice Department access to the names of witnesses who were deposed. See 594 F.2d at

293. Absent access to even that information, which the USVI proposes to obtain in a manner

that preserves any victim’s right to maintain anonymity as set forth below, see infra § D, the

USVI’s investigatory powers would be significantly hindered.

       For each of these reasons, the USVI should be granted permissive intervention under Fed.

R. Civ. P. 24(b) and should be granted confidential access to still-sealed summary judgment

filings and unfiled deposition discovery through modification of the Protective Order.



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                                            ARGUMENT

        A.      The USVI Has Compelling Need for Access to Jeffrey Epstein’s and Other
                Witnesses’ Depositions.

        The USVI alleges in its CICO action that Epstein created and participated in a criminal

sex trafficking enterprise in the Virgin Islands, wherein he used his vast wealth and property

holdings and a deliberately opaque web of corporations and companies to transport young

women and girls to his private islands, where they were held captive and subject to severe and

extensive sexual abuse. See USVI Ex. A (FAC) (Doc. 1111-1), ¶¶ 40-114.

        Epstein himself was central to the enterprise. He created and directed the companies

whose aircraft transported the young women and girls, owned and maintained the secluded

islands to which they were transported, and provided sources of funding for this activity. Id., ¶¶

17-37. He also was directly involved in luring these young women with false promises of

modeling and other career opportunities, keeping them in captivity, and subjecting them to

sexual abuse. Id., ¶¶ 49-64.

        Maxwell and Doe both acknowledge that Epstein was deposed in this action, and do not

dispute that the USVI has no opportunity to depose him due to his passing. See Maxwell Obj. at

8 (“[I]t is true, of course, that Mr. Epstein is not available to testify in the Government’s case . . .

.”); Doe Obj. at 3 (acknowledging Epstein’s passing).

        Maxwell goes so far as to describe the substance of Epstein’s statements made during his

deposition. See Maxwell Obj. at 8 (“While it is true, of course, that Mr. Epstein is not available

to testify in the Government’s case, it is also no secret that he did not testify in this case either.

Instead, as he stated he would, he invoked his Fifth Amendment rights against self-incrimination

on every question (see Doc. #222).”) (emphasis in original). This public disclosure by a party

should waive any protection of the Epstein deposition transcript and exhibits. See, e.g., U.S. v.

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Gangi, 1. F. Supp. 2d 256, 263 (S.D.N.Y. 1998) (“If a party voluntarily discloses a privileged

document, it waives the privilege for that document and cannot later seek to keep the document

confidential.”). For this reason alone, the Court may grant access to Epstein’s deposition.

       Maxwell and Doe both nonetheless argue that the USVI cannot establish compelling need

for the Epstein deposition because it allegedly has no evidentiary value. See Maxwell Obj. at 8

(because Epstein invoked his Fifth Amendment right, “the Government will be unlikely to find

‘critical’ information in Mr. Epstein’s testimony.”). This is incorrect. The Second Circuit, this

Court, and other courts have held repeatedly that a party in civil litigation may be subject to an

adverse inference for invoking its Fifth Amendment right not to testify in response to deposition

questions. See, e.g., Collazos, supra, 368 F.3d at 204; N.Y. Dist. Council of Carpenters, supra,

657 F. Supp. 2d at 415; Penfield v. Venuti, 589 F. Supp. 250, 254 (D. Conn. 1984) (“It is equally

clear, however, that a refusal to answer questions upon assertion of the [Fifth Amendment]

privilege is relevant evidence from which the trier of fact in a civil action may draw whatever

inference is reasonable in the circumstances.”); Sound Solutions, LLC v. V.I. Water & Power

Auth., No. ST-12-CV-88, 2014 V.I. LEXIS 74, *8 n.27 (V.I. Super. Ct. Sept. 19, 2014) (“‘The

Fifth Amendment does not forbid adverse inferences where the privilege is claimed by a party to

a civil cause.’”) (quoting Baxter v. Palmigiano, 425 U.S. 308, 318 (1976)).

       Since Maxwell and Doe agree (as they must) that Epstein is unavailable to testify in the

USVI’s CICO action and since his allegedly repeated invocations of the Fifth Amendment

privilege in his deposition in this action would constitute substantive testimony on the questions

asked in civil litigation, the USVI has compelling need for and should be granted access to his

deposition transcript and exhibits.




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        B.      The USVI Has Compelling Need for Access to Other Witness Depositions.

        Maxwell and Doe both devote significant parts of their Objections to arguing that the

USVI cannot possibly establish a need to modify the protective order for access to confidential

information because the USVI, as a litigant and government, has other investigatory resources at

its disposal. See Maxwell Obj. at 6 (“Here, there is no restriction on the Government’s awesome

powers or ability to subpoena witnesses, obtain documents, and protect its interest in enforcing

the criminal laws of the Virgin Islands.”); id. at 7 (“The Government can subpoena or depose any

or all of the witnesses who may have testified or provided documents in this defamation matter .

. . .”) (emphasis added); Doe Obj. at 3 (“The government has sufficient investigatory powers that

it is unnecessary for it to ‘exploit[] . . . the fruits of private investigation.’”) (quoting Martindell,

594 F.2d at 296 (alterations in Objection)). This, too, is incorrect.

        Maxwell and Doe ignore a critical difference between the federal government’s position

in Martindell and the USVI’s position here. In Martindell, the Second Circuit noted that the

federal government has the “awesome powers” to “institute or continue a grand jury proceeding

and, in connection therewith, subpoena witnesses to testify, regardless of whether they have

already testified or furnished documentary evidence in civil litigation.” 594 F.2d at 296. This

was true. But it also was true that the federal government knew who testified in the civil action

and could focus its investigation accordingly because the district court had arranged for it to

receive a list of the testifying witnesses. See id. at 293 (“At Judge Conner’s request, counsel for

the defendants in the action furnished the Department of Justice . . . with a list of 14 witnesses

who had been deposed in the case.”).

        Here, by contrast, the USVI does not know who has testified in depositions that are

sealed or otherwise shrouded by confidentiality designations. This is why the highlighted



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language above from Maxwell’s Objection is critical. She argues that the USVI may subpoena

or depose any of the witnesses who may have testified herein, which tacitly acknowledges that

the USVI does not know who these witnesses are and may have no way to identify them as

potential witnesses. Absent this knowledge, the USVI’s referenced litigation and investigatory

powers are far more limited than what the Second Circuit addressed in Martindell.

       Furthermore, providing an avenue to disclose discovery related to victims would allow

the USVI to avoid re-deposing witnesses whose testimony may not be relevant to Epstein’s

alleged crimes in the Virgin Islands, or re-taking testimony where it is sufficient. This avoids

subjecting survivors to unnecessary discovery and it therefore further protects their interests.

       For this reason, too, the USVI should be granted access to the sealed summary judgment

documents and unfiled deposition discovery in the manner set forth below, see infra § D, so that

it has an opportunity to identify potential witnesses without disturbing the privacy interests of

victims who wish to remain anonymous.

       C.      Maxwell’s and Doe’s Objections Based on Reliance Interests Are Insufficient.

       Maxwell and Doe both place great emphasis on witnesses’ and the parties’ reliance on the

Court’s Protective Order in participating in discovery. See Maxwell Obj. at 8-11 (“The

witnesses and parties in the instant case have relied on, and continue to rely on, the Protective

Order.”); Doe Obj. at 3 (describing interest in “protecting people (like the parties and numerous

non-parties here) who reasonably relied on the Protective Order”). These interests may be

substantial, but they are not determinative.

       Maxwell emphasizes, inter alia, Jeffrey Epstein’s purported reliance on the protective

order in appearing for his deposition, which he did only after the Court ordered him to do so

(Doc. 252). See Maxwell Obj. at 10 (“In denying the Motion to Quash, this Court forced Mr.



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Epstein to rely on the continuing confidentiality promised by the Protective Order in this case to

ensure that the deposition, or video thereof, would not be used in any other matter . . . .”)

(emphasis in original). This mischaracterizes both Epstein’s motion and the Protective Order

itself to create a greater reliance interest than actually existed.

        Epstein moved to quash the subpoena for his deposition in full recognition that the

Protective Order did not provide absolute protection against disclosure for use in any other

matter. See Epstein Memo. of Law in Support of Motion to Quash (Doc. 222) at 2 (“That risk

[of embarrassment from videography] exists even where a protective order has been entered, as

in this case (Dkt. 62), and even where designations are made under the protective order, because

the order does not prohibit public disclosure in all circumstances.”); id. at 9 (“Although the

Court’s protective order lessens the risk of misuse and public disclosure, the order does not

eliminate the risk. The order itself limits the scope of confidential information (Dkt. 62, ¶ 3),

allows parties to object to confidentiality designations (id. ¶ 11), and does not categorically bar

public disclosure (id. ¶ 14).”). Since Epstein objected based on concerns about public disclosure

(not case-specific access), recognized that the Protective Order was not absolute, and appeared

for his deposition only under a Court order, he did not have any heightened or particularized

reliance interest in the Protective Order never being modified.

        The Court also should reject Maxwell’s separate argument that her recent criminal

indictment necessitates that “all discovery material must remain subject to the Protective Order.”

Maxwell Obj. at 10 (emphasis added). Maxwell contends that her “reliance on the Protective

Order as a basis for not asserting her Fifth Amendment privilege against and participating in civil

discovery is reason enough to deny the present motion.” Id. at 9. It is not. The Fifth

Amendment privilege applies to a party or witness’s own testimony and certain instances of



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document production. See, e.g., U.S. v. Doe, 741 F.3d 339, 343 (2d Cir. 2013) (“The Fifth

Amendment privilege might protect an individual from being required to produce documents,

even if the documents’ contents are not protected by the privilege, when the witness’s simple act

of producing the documents could be used against the witness – for example, in those cases when

the simple fact that the witness possessed the documents would be incriminating.”). Maxwell

cannot assert a Fifth Amendment-based reliance interest based upon other persons’ testimony or

document production. And Maxwell points the Court to nothing in her own document

production that would fall within the scope of the Fifth Amendment privilege. Absent such a

showing, her argument thus likewise presents no basis for finding a heightened or particularized

reliance interest in the Protective Order never being modified.

       In considering the parties’ and other witnesses’ reliance interests, it also bears re-

emphasis that the Protective Order in this case is a blanket order, not one targeted to specific

discovery items. See Nielsen C. (U.S.), LLC v. Success Systems, Inc., 112 F. Supp. 3d 83, 120

(S.D.N.Y. 2015) (“A broad protective order is less likely to elicit reliance ‘because it is more

difficult to show a party reasonably relied on a blanket order in producing documents or

submitting to a deposition.’”) (quoting In re EPDM Antitrust Litig., 255 F.R.D. 308, 319 (D.

Conn. 2009)). In this respect, the asserted reliance interests here are different from and lesser

than those addressed by this Court in Daniels v. City of New York, 200 F.R.D. 205 (S.D.N.Y.

2001), a case on which Maxwell places great emphasis. See Maxwell Obj. at 4-5. In Daniels,

the Court found good cause for maintaining confidentiality of the City’s documents under a

“carefully crafted” protective order. See 200 F.R.D. at 210 (“The protective order at issue has

been carefully crafted to protect only limited materials upon a showing of good cause or

agreement by the parties. No party can unilaterally designate confidential materials.”)



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(emphasis added). The Protective Order here is broader, permitting unilateral designation by any

party or witness upon provision of notice. See Protective Order (Doc. 62), ¶¶ 7-8 (documents); ¶

9 (depositions). Maxwell, Doe, and other witnesses thus have lesser reliance interests in

continued denial of access than do parties and witnesses in cases with more targeted orders.

        For each of these reasons, the Court should hold that the reliance interests invoked by

Maxwell and Doe do not support denial of the USVI’s motion for confidential access.

        D.      The USVI’s Need for Access is More Compelling and More Aligned with
                Victims than Were the Interests Asserted in the Dershowitz Motions.

        Maxwell and Doe also emphasize the Court’s rulings addressing non-party Alan

Dershowitz’s motions for access to confidential materials (Doc’s 1071, 1113). See Maxwell Obj.

at 11-12; Doe Obj. at 3-4. These rulings should support the USVI’s motion for two reasons.

        First, the Court granted Dershowitz’s motion for access in part, ordering Plaintiff to

produce to him “all sealed materials and discovery that mentions Mr. Dershowitz, excluding

material produced by or material (or portions of material) discussing a specific nonparty Doe

whose privacy interests are the subject of a separate sealed order to be provided to Ms. Giuffre.”

Doc. 1113 (Sept. 9, 2020 Order) at 7. This order, tailored to the scope of the claim in the

separate action against Dershowitz, supports granting the USVI access to sealed and unfiled

confidential material at least to the extent they relate to activity in the Virgin Islands of Jeffrey

Epstein or any other CICO action Defendant—i.e., the Epstein Estate, its Co-Executors, and

various Epstein-related entities.

        Second, the Court’s recognition of “the gravity of the privacy interests of nonparties—

particularly nonparties who are alleged victims of Jeffrey Epstein’s sexual abuse[,]” id. at 5, is

well taken by the USVI, which seeks access subject to the Protective Order’s requirements and in

a manner that respects the privacy interests of victims who wish to remain anonymous. In this

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respect, the USVI is differently situated as a party prosecuting civil claims against the Epstein

Estate and Epstein-related entities than is Dershowitz as a party defending against claims by an

alleged Epstein victim. The Court has recognized the latter posture as potentially posing a

heightened threat to alleged victims’ privacy. See Doc. 1071 (July 1, 2020 Memorandum and

Order) at 10-11 n.6 (“Bubbling underneath the debate about modification of the Maxwell

Protective Order is a more practical concern: the temptation that the Maxwell materials might

inspire for a litigant in Mr. Dershowitz’s position. . . . [T]he fact that he is defending his

reputation might incent him, naturally, to be more cavalier with the sealed materials where they

are helpful to him.”). The USVI does not have this kind of personal interest that is adverse to

victims’ interests, as is demonstrated by Plaintiff’s support for its investigation. See Doc. 1117

(Plaintiff’s Sept. 16, 2020 letter).

        The USVI thus requests that the Court grant it access to all sealed summary judgment

documents and unfiled deposition discovery as follows. Any document or discovery that

identifies an otherwise anonymous victim be produced with the victim’s identity redacted, but

with the victim’s lawyer separately identified. The USVI’s lawyer then may communicate with

the victim’s lawyer to determine whether or to what extent she wishes to maintain anonymity in

connection with the USVI’s case against the Epstein Estate. In this manner, and for the reasons

set forth, the USVI should be granted intervention and confidential access.

                                          CONCLUSION
        For all of the reasons set forth herein and in its moving papers, the USVI respectfully

moves this Court to GRANT the Ex Parte Motion to Intervene and for Confidential Access to

Judicial Records and Discovery Documents.

Dated: September 24, 2020



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                             Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on September 24, 2020, I electronically served this Reply Memorandum in

Support of Motion to Intervene and for Confidential Access to Judicial Records and Discovery

Documents via ECF upon counsel of record for all parties.

                                                   /s/ Michael J. Quirk
                                                   Michael J. Quirk




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